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                       EXHIBIT	1	
	                      	
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                       Lutron Palladiom’s Infringement of U.S. Pat. No. 9,237,821

U.S. Pat. No. 9,237,821                Exemplary Evidence of Infringement for Defendants’ Accused Palladiom Shade

9.0 A fastening device for   The Palladiom Shades are a “fastening device for mounting a roller window shade.”
mounting a roller window
shade, comprising:           For example, Palladiom Shades are roller window shades:




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 U.S. Pat. No. 9,237,821                Exemplary Evidence of Infringement for Defendants’ Accused Palladiom Shade

                              http://www.lutron.com/TechnicalDocumentLibrary/Palladiom_Shading_System_Brochure.pdf, Sorden
                              Decl., Ex. 2 at p. 5.

9.1 two disk-shaped           The Palladiom Shades have “two disk-shaped mounting brackets, each having one side configured to bear
mounting brackets, each       against a flat surface and one side having a projection configured to hold an end of a tube shade, wherein
having one side               each of the mounting brackets have two recessed apertures therethrough constructed and arranged to
configured to bear against    receive a fastener to secure the mounting bracket to the flat surface.”
a flat surface and one side
having a projection           For example, the following annotations show where the flat bearing surface (green), projections
configured to hold an end     configured to hold an end of a tube shade (blue), and recessed apertures (purple) can be found on the
of a tube shade, wherein      shade bracket. The shade requires two of these mounting brackets, one for each end.
each of the mounting
brackets have two
recessed apertures
therethrough constructed
and arranged to receive a
fastener to secure the
mounting bracket to the
flat surface;




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 U.S. Pat. No. 9,237,821                  Exemplary Evidence of Infringement for Defendants’ Accused Palladiom Shade




                                Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 5 (color annotations added).


9.2 wherein, when               “[W]hen holding a window tube shade” the Palladiom Shade’s “outer circumferences of each disk-shaped
holding a window tube           mounting bracket is visible and the fastener is obscured by the window tube shade.”
shade, the outer
circumferences of each          For example, the Palladiom Shade jamb bracket’s outer circumference is visible because otherwise the
disk-shaped mounting            bracket would not need to be available in four finishes (Pure White, Clear Anodized, Black Anodized, and
bracket is visible, and the     Satin Nickel):
fastener is obscured by




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U.S. Pat. No. 9,237,821               Exemplary Evidence of Infringement for Defendants’ Accused Palladiom Shade

the window tube shade;      Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 5.
and




                            https://youtu.be/p_n5AMkXp_s?t=177, see Sorden Decl. at ¶ 8.




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                            Id. The fastener is obscured by the window tube shade:




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                             Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 6.


9.3 wherein the projection   The Palladiom Shades have “at least one of the mounting brackets is configured as a key to engage a tube
of at least one of the       shade clutch or a tube shade motor.”
mounting brackets is
configured as a key to       For example, the Palladiom Shades are motorized and must necessarily be able to push against at least one
engage a tube shade          of the mounting brackets in order to raise and lower the shade:
clutch or a tube shade
motor.




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                            Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 2 at p. 1.




U.S. Pat. No. 9,237,821               Exemplary Evidence of Infringement for Defendants’ Accused Palladiom Shade

15.0 A fastening device     The Palladiom Shades are a “fastening device system for mounting a roller window shade.”
system for mounting a
                            For example, Palladiom Shades are roller window shades:



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roller window shade,
comprising:




                            http://www.lutron.com/TechnicalDocumentLibrary/Palladiom_Shading_System_Brochure.pdf, Sorden
                            Decl., Ex. 2 p. 5.

15.1 two disk-shaped        The Palladiom Shades have “two disk-shaped mounting brackets, each having one side configured to bear
mounting brackets, each     against a flat surface and one side having a projection configured to hold an end of a tube shade, wherein
having one side


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configured to bear against    each of the mounting brackets have two recessed apertures therethrough constructed and arranged to
a flat surface and one side   receive a fastener to secure the mounting bracket to the flat surface.”
having a projection
configured to hold an end     For example, the following annotations show where the flat bearing surface (green), projections
of a tube shade, wherein      configured to hold an end of a tube shade (blue), and recessed apertures (purple) can be found on the
each of the mounting          shade bracket. The shade requires two of these mounting brackets, one for each end.
brackets have two
recessed apertures
therethrough constructed
and arranged to receive a
fastener to secure the
mounting bracket to the
flat surface;




                              Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 5 (color annotations added).




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15.2 wherein, when              “[W]hen holding a window tube shade” the Palladiom Shade’s “outer circumferences of each disk-shaped
holding a window tube           mounting bracket is visible and the fastener is obscured by the window tube shade.”
shade, the outer
circumferences of each          For example, the Palladiom Shade jamb bracket’s outer circumference is visible because otherwise the
disk-shaped mounting            bracket would not need to be available in four finishes (Pure White, Clear Anodized, Black Anodized, and
bracket is visible and the      Satin Nickel):
fastener is obscured by
the window tube shade;
and
                                Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 5.




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                          https://youtu.be/p_n5AMkXp_s?t=177, see Sorden Decl. at ¶ 8.




                          Id. The fastener is obscured by the window tube shade:




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                             Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 3 at p. 6.


15.3 wherein the             The Palladiom Shades have “at least one of the mounting brackets is configured to receive a tube shade pin
projection of at least one   or a motorized tube shade idler pin.”
of the mounting brackets
is configured to receive a   For example, the Palladiom Shades are motorized and must necessarily be able to receive a motorized
tube shade pin or a          tube shade idler pin to be able to push against at least one of the mounting brackets in order to raise and
motorized tube shade         lower the shade:
idler pin.




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                          Palladiom_Shading_System_Spec_Submittal.pdf, Sorden Decl., Ex. 2 at p. 1.




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